
In re Administrators of the Tulane Educational Fund et al.; — Defendant; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. E, No. 2004-4758; to the Court of Appeal, Fourth Circuit, No. 2010-C-0576.
Granted. Although the “temporary transfer” rale does not necessarily conflict with principles of random allotment, we find the interests of judicial economy in this matter favor maintaining the suit in the division to which it was randomly allotted following the recusation of the judge pro tempore. Accordingly, the trial court’s April 13, 2010 order is vacated, and the suit is returned to Division “E-7.”
GUIDRY, J„ would deny.
CLARK, J., would deny.
